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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 Anthony B. Nelson,                                                            11/05/2020

                                    Plaintiff,
                                                                 1:18-cv-11413 (AT) (SDA)
                     -against-
                                                                 ORDER
 Diane Argyropoulous et al.,

                                   Defendants.


STEWART D. AARON, UNITED STATES MAGISTRATE JUDGE:

        It is hereby Ordered that, if Plaintiff has not already done so, he shall file his opposition

to the Defendant MMNA’s motion to dismiss the Amended Complaint (see ECF No. 122) no later

than November 19, 2020. Defendant MMNA shall file its reply, if any, no later than December 3,

2020.

        The Clerk of Court is directed to mail a copy of this Order to the pro se Plaintiff. In addition,

a copy of this Order will be emailed to Plaintiff by Chambers.

SO ORDERED.

DATED:          New York, New York
                November 5, 2020

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                                                        STEWART D. AARON
                                                        United States Magistrate Judge
